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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                          File No. 1:02-CR-266
v.
                                                          HON. ROBERT HOLMES BELL
ARTHUR TRUM AN FISHER, JR.,

              Defendant.
                                        /

                                       OPINION

       This matter comes before the Court on Defendant Arthur Truman Fisher, Jr.'s motion

under 28 U.S.C. § 2255 to vacate, set aside, or correct the sentence imposed upon him by this

Court on March 29, 2004.

                                              I.

       On December 22, 2003, Defendant entered a plea of guilty in this Court to one count

of conspiracy to possess with intent to distribute and to distribute 50 grams or more of a

mixture or substance containing a detectable amount of cocaine base in violation of 21

U.S.C. § § 846, 841(a). On March 29, 2004, he was sentenced to 210 months in prison. At

the sentencing hearing, the Court advised Defendant of his right to an appeal and further

advised that the appeal, with rare exceptions, must be filed within ten days of the sentencing.

The Court further advised Defendant that if he wished to have appellate counsel appointed

for him, he must apply for leave to appeal in forma pauperis. The record reflects that the
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Court provided Defendant's counsel with the appeal documents. (Excerpt of Sent. Tr. at 2;

Docket #222.) Defendant did not file an appeal of his sentence.

       By way of a letter to the Clerk of Court dated June 3, 2004, Defendant first expressed

interest in the filing of an appeal:

              I am requesting that I be allowed a copy of my docket sheet. I have
       been left without an attorney and need to know the status of my case. In
       particular, if the Notice of appeal has been filed and the current rules for filing
       with the appeals court after a final judgment in the district court.

              Also, I need to know the name of the transcriber and whether I can get
       copies of the transcripts of all proceedings in this case.

             Sir, can I also found [sic] out if the Judge (Honorable McKeague) has
       appointed me counsel for this appeal?

             I appreciate the anticipated immediate response to these questions.
       Thank you so very much.

(Pl. Resp. to Motion, Ex. 1; Docket #230.) Defendant's letter was construed as a notice of

appeal and forwarded to the Sixth Circuit. Two months later, in a letter dated August 2,

2004, Defendant contacted counsel for the first time:

            DEAR ATTORNEY SAPPANOS I WAS WRITING YOU TO SEND
       ME A COPY OF MY PLEA HEARING TRANSCRIPT AND MY
       SENTENCING TRANSCRIPT[]. I WAS CALLING YOU TO TALK TO
       YOU ABOUT MY CASE I REALLY WANT TO, APPEAL MY CASE,
       SUPREME COURT JUSTICE, O" CONNER [SIC] DISSENTED IN,
       BLAKELY VS. WASHINGTON ABOUT FEDERAL SENTENCING
       GUIDELINE ENHANCEMENTS, STATEING [SIC] THAT IT IS
       UNCONSTITUTIONAL TO ENHANCE A SENTENCE THAT WAS NOT
       PROVEN BEYOND A REASONABLE DOUBT BY A JURY" . . . I WAS
       GIVEN ENHANCEM ENTS ALSO MY SIXTH AM ENDMENT RIGHTS
       WERE VIOLATED!!! MR. SAPPANOS CAN YOU PLEASE SEND ME A
       COPY OF ALL THE LETTERS THAT I SENT YOU LAST YEAR IN

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       JANUARY 2003. PLEASE ALSO CAN YOU PLEASE GIVE ME A TIME
       AND DATE THAT I CAN CALL YOU A.S.A.P. I REALLY NEED TO
       TALK TO YOU" . . . . . . .

(Pl. Br. in Resp., Ex. 4; Docket #230.) Counsel promptly responded to Defendant's inquiry.

advising that he was well aware of the decision in Blakely v. Washington, 124 S. Ct. 2531

(2004). He further advised that, while the decision, might have some effect on Defendant's

sentence, counsel had not yet researched the issue and would be reluctant to "move forward"

on the issue without first being paid for his original work on the file. Counsel asked

Defendant to contact his office and speak with his secretary to advise her of the time and date

Defendant could call counsel to discuss the matter. (Pl. Br. in Resp., Ex. 5; Docket #230.)

       Defendant again wrote to his attorney on August 14, 2004:

             DEAR MR. SAPPANOS I RECEIVED YOUR LETTER ABOUT
       YOUR, RESPONCE [SIC] IN REGARDS TO BLAKELY V.
       WASHINGTON FRIDAY, I WAS WAITING TO HEAR, BACK FROM
       YOU FINALLY", I NEED M Y SENTENCEING [SIC] TRANSCRIPTS"
       &MY [SIC] PLEA HEARING TRANSCRIPTS AS SOON AS POSSIBLE"
       PLEASE!' ' AND I NEED A COPY OF THE LETTER THAT I WROTE
       YOU IN JANUARY OF 2004, PLEASE!! I REALLY WOULD LIKE FOR
       YOU TO HELP ME IF ALL POSSIBLE BUT MR" SAPPANOS I DON"T
       HAVE ALL THE FUNDS IN SUPPORT OF WHAT I OWE, YOU, AND MY
       FATHER AND UNCLE IS NOT HELPING ME OUT THE ONLY PERSON,
       I HAVE HELPING ME IS" . . SHEMEKI" IF WE CAN COM [SIC] UP
       WITH SOME, AGREEMENT ABOUT THE FUNDS, I CAN COME UP
       WITH 1,500dolars ASOF, now [sic] I TRULY WILL INSURE YOU WILL
       BE PAID IN FULL" I HAVE USED YOU IN THE PAST AND NEVER
       HAD A PROBLEM' WITH PAYMENT IN THE PAST SO PLEASE BARE
       [SIC] WITH ME THIS TIME PLEASE! I TRYING TO GIVE BACK SOME
       OF THIS TIME AND COME HOME CAN YOU PLEASE HELP ME? MR.
       SAPPANOS YOU WROTE THE D.A. AND THEY HAVE NOT SAID
       ANYTHING ABOUT MY CASE! THANKS FOR YOUR TIME AND



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       SUPPORT IN THIS GRAVE MATTER I CANNOT DO EVERYTHING"
       BUT WHAT I CAN OFFER IS ALL I CAN DO"

(Pl. Resp. to M otion, Ex. 6; Docket #230.) On August 24, 2004, counsel responded as

follows:

             We are in receipt of your August 14, 2004 correspondence. Please let
       me address the issues raised in the above-referenced correspondence.

              First, the office responded almost immediately to your inquiry regarding
       Blakely v. Washington. Further, this office does not have sentencing or pre-
       hearing transcripts in it's [sic] possession regarding your case.

               Finally, as you are aware, there is a balance on your original case with
       this office. We are willing to forgive the balance owed on the original case,
       but are not prepared to proceed with a Blakely motion without adequate
       funding. In this regard, if you can obtain a court appointed attorney,
       specializing in appeal work, to represent you regarding Blakely, we will work
       at no charge to assist the attorney on your behalf. It is our belief that an
       attorney who specializes in post-conviction work would be more beneficial to
       you in the long run. However, as indicated above, we would diligently assist
       this attorney upon request.

             Please call this office at your earliest convenience, as we believe it
       would be beneficial to speak over the telephone versus in writing.

(Pl. Resp. to Motion, Ex. 7; Docket #230.)

       On September 30, 2004, the Sixth Circuit dismissed the appeal for lack of jurisdiction,

as it was not timely filed (Docket #175). Defendant filed the instant motion to vacate, set

aside, or correct sentence on December 28, 2004.

                                             II.

       A prisoner who moves to vacate his sentence under § 2255 must show that the

sentence was imposed in violation of the Constitution or laws of the United States, that the

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court was without jurisdiction to impose such sentence, that the sentence was in excess of the

maximum authorized by law, or that it is otherwise subject to collateral attack. 28 U.S.C.

§ 2255. To prevail under § 2255, "a petitioner must demonstrate the existence of an error of

constitutional magnitude which had a substantial and injurious effect or influence on the

guilty plea or the jury's verdict." Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003)

(citing Brecht v. Abrahamson, 507 U.S. 619, 637 (1993)). "Relief is warranted only where

a petitioner has shown 'a fundamental defect which inherently results in a complete

miscarriage of justice.'" Id. (quoting Davis v. United States, 417 U.S. 333, 346 (1974)).

       In order to obtain collateral relief under § 2255, a petitioner must clear a significantly

higher hurdle than would exist on direct appeal. United States v. Frady, 456 U.S. 152, 166

(1982). A petitioner is procedurally barred from raising claims in a § 2255 motion, even

those of constitutional magnitude, to which no contemporaneous objection was made or

which were not presented on direct appeal. Frady, 456 U.S. at 167-68; Nagi v. United States,

90 F.3d 130, 134 (6th Cir. 1996). Where a defendant has procedurally defaulted a claim by

failing to raise it on direct review, the claim may be raised in a motion under § 2255 only if

the defendant first demonstrates either cause for the default and actual prejudice or that he

is actually innocent. Bousley v. United States, 523 U.S. 614, 622 (1998). The procedural

default rule does not apply, however, to claims of ineffective assistance of counsel. Claims

of ineffective assistance of trial counsel generally are not reviewable on direct appeal,

because the record may be inadequate to permit review. See United States v. Kincaide, 145



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F.3d 771, 785 (6th Cir. 1998); United States v. Tucker, 90 F.3d 1135, 1143 (6th Cir. 1996).

Consequently, such claims may be raised for the first time in a § 2255 proceeding, without

regard to a failure to raise them on direct appeal. See Tucker, 90 F.3d at 1143; United States

v. Allison, 59 F.3d 43, 47 (6th Cir. 1995).

       In an action to vacate or correct the sentence, a court is required to grant a hearing to

determine the issues and make findings of fact and conclusions of law "[u]nless the motion

and the files and records of the case conclusively show that the prisoner is entitled to no

relief. . . ." 28 U.S.C. § 2255.

       The statute "does not require a full blown evidentiary hearing in every instance
       . . . . Rather, the hearing conducted by the court, if any, must be tailored to the
       specific needs of the case, with due regard for the origin and complexity of the
       issues of fact and the thoroughness of the record on which (or perhaps, against
       which) the section 2255 motion is made."

Smith v. United States, 348 F.3d 545, 550-51 (6th Cir. 2003) (quoting United States v.

Todaro, 982 F.2d 1025, 1030 (6th Cir. 1993)). No evidentiary hearing is required if the

petitioner's allegations "cannot be accepted as true because they are contradicted by the

record, inherently incredible, or conclusions rather than statements of fact." Engelen v.

United States, 68 F.3d 238, 240 (8th Cir. 1995), quoted in Arredondo v. United States, 178

F.3d 778, 782 (6th Cir. 1999). Where the judge considering the § 2255 motion also

conducted the trial, the judge may rely on his or her recollections of the trial. Blanton v.

United States, 94 F.3d 227, 235 (6th Cir. 1996).




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                                               III.

          The files and records in this case conclusively show that Defendant is not entitled to

relief.    Defendant raises four grounds for relief: (1) defense counsel was ineffective in

failing to file a notice of appeal when specifically asked to do so by Defendant; (2) counsel

was ineffective in failing to file pretrial motions; (3) counsel was ineffective in advising

Defendant to plead guilty; and (4) the sentence imposed by the Court violated the Sixth

Amendment as it was based in part on a finding by the Court that D efendant was a career

offender.

          As previously noted, Defendant's three claims of ineffective assistance of counsel are

not procedurally defaulted and may be considered by the Court in this post-conviction

motion. Bousley, 523 U.S. at 622. Defendant's remaining Sixth Amendment claim is

defaulted because he failed to raise it on direct appeal. As a result, in order for the Court to

consider the claim, Defendant first must demonstrate either cause for the default and actual

prejudice or that he is actually innocent. Id.

          To show cause excusing a procedural default, a defendant must point to "some

objective factor external to the defense" that prohibited him from raising his claim on direct

appeal. See Murray v. Carrier, 477 U.S. 478, 488 (1986). Put another way, cause requires

a showing of some "external impediment" preventing a defendant from raising the issue on

direct appeal. See McCleskey v. Zant, 499 U.S. 467, 497 (1991). To show prejudice, a

defendant must demonstrate an error that worked to his actual and substantial disadvantage.



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Frady, 456 U.S. at 170. Failure to show one or the other will preclude review of his claim.

See Engel v. Isaac, 456 U.S. 107, 134 n.43 (1982).

       As cause for his procedural default, Defendant asserts that he was deprived of the

effective assistance of counsel when counsel failed to file a timely appeal of right. Attorney

error may constitute cause excusing a procedural default if the error amounts to the

ineffective assistance of counsel. Murray v. Carrier, 477 U.S. 478, 488 (1986). As a

consequence, in determining Defendant's claim that counsel was ineffective in failing to file

an appeal, the Court also will resolve whether Defendant's Sixth Amendment claim may be

reviewed notwithstanding the procedural default.

       To establish a claim of ineffective assistance of counsel, Defendant must prove:

(1) that counsel's performance fell below an objective standard of reasonableness; and (2)

that counsel's deficient performance prejudiced the defendant resulting in an unreliable or

fundamentally unfair outcome. Strickland v. Washington, 466 U.S. 668, 687-88 (1984). A

court considering a claim of ineffective assistance must "indulge a strong presumption that

counsel's conduct falls within the wide range of reasonable professional assistance." Id. at

689. The defendant bears the burden of overcoming the presumption that the challenged

action might be considered sound trial strategy. Id. (citing Michel v. Louisiana, 350 U.S. 91,

101 (1955)); see also Nagi v. United States, 90 F.3d 130, 135 (6th Cir. 1996) (holding that

counsel's strategic decisions were hard to attack). The court must determine whether, in light

of the circumstances as they existed at the time of counsel's actions, "the identified acts or



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omissions were outside the wide range of professionally competent assistance." Strickland,

466 U.S. at 690. Even if a court determines that counsel's performance was outside that

range, the defendant is not entitled to relief if counsel's error had no effect on the judgment.

Id. at 691.

       A.      Failure to File Appeal

       Defendant alleges that trial counsel was ineffective in failing to file a notice of appeal

as Defendant specifically requested. In the context of an attorney's alleged failure to appeal,

the Supreme Court has indicated that the Strickland standard continues to apply. Roe v.

Flores-Ortega, 528 U.S. 470, 477 (2000). In reviewing such a claim, "'[j]udicial scrutiny of

counsel's performance must be highly deferential.'" Id. at 477 (quoting Strickland, 466 U.S.

at 689). Where an attorney fails to initiate an appeal after being specifically instructed to file,

he acts in a manner that is professionally unreasonable. Flores-Ortega, 528 U.S. at 477

(citing Rodriguez v. United States, 395 U.S. 327 (1969)). However, a defendant who has

instructed his attorney not to file an appeal cannot later complain that his counsel performed

ineffectively. Flores-Ortega, 528 U.S. at 477. Where the defendant has not clearly conveyed

his wishes one way or the other, a court must first consider whether counsel consulted with

the defendant about an appeal, advising the defendant of the advantages and disadvantages

of doing so, and making a reasonable effort to determine the defendant's wishes. Id. at 478;

see also Regalado v. United States, 334 F.3d 520, 524 (6th Cir. 2003). If counsel did consult,

his performance is constitutionally deficient only if counsel failed to appeal as expressly



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instructed by a defendant. Regalado, 334 F.3d at 524. If counsel failed to consult, that lack

of consultation is professionally unreasonable only where (1) a rational defendant would

want an appeal, or (2) a particular defendant reasonably demonstrated to counsel an interest

in appealing. Flores-Ortega, 528 U.S. at 480. If counsel deficiently failed to consult, a

defendant must demonstrate that "there is a reasonable probability that, but for counsel's

deficient failure to consult with him about an appeal, he would have timely appealed." Id.

at 484.

          On the record evidence, Defendant's claim that he requested counsel to file an appeal

is patently unsupported. The Court clearly and unequivocally advised Defendant on the

record that any appeal would need to be filed within ten days. Defendant's June 3, 2004 letter

strongly suggests that Defendant was making an initial inquiry; it does not imply that

Defendant expected to find an ongoing appeal. Instead, Defendant asks about the procedures

for filing an appeal and for obtaining transcripts of the underlying proceedings. In addition,

in his inquiry about the appointment of counsel, Defendant suggests that he was fully aware

that his trial counsel was not representing him on appeal.

          Further, in his first letter to counsel of August 2, 2004, Defendant told counsel that

he wanted to talk with him about appealing his case on the basis of Blakely v. Washington,

124 S. Ct. 2531 (2004), a case that was not issued until June 24, 2004, well after Defendant's

conviction was final. The letter also asks for copies of certain letters and any transcripts

counsel may have. At no point does Defendant state or imply that he expected an appeal



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already had been filed. (Pl. Resp. to Motion, Ex. 4.) Further, in his second letter to counsel,

he advises his trial attorney that he would like to have the attorney represent him on a

challenge raising the Blakely claim, but that he is unable to raise the funds he would like. He

at no point suggests that he previously asked counsel to file an appeal. (Pl. Resp. to Motion,

Ex. 6.)

          Further, the promptness with which counsel responded to Defendant's letters strongly

supports defense counsel's averment that "the line of communication between myself and

Mr. Fisher was always open." (Pl. Resp. to Motion, Ex. 3.) Indeed, during the intervening

months between sentencing and Defendant's first correspondence, Defendant's attorney

continued to work in Defendant's interest, urging the government to consider filing a motion

to reduce sentence under F ED. R. C RIM . P. 35. (Pl. Resp. to Motion, Ex. 8.)

          Taken together, the record strongly contradicts Defendant's vague claim that he

advised his attorney that he would like to file an appeal, but "[c]ounsel never gave affiant any

indication that this request would be acknowledged." The Court therefore concludes that no

hearing is required on this claim. See Arredondo, 178 F.3d at 782 (no evidentiary hearing

is required if the petitioner's allegations "cannot be accepted as true because they are

contradicted by the record, inherently incredible, or conclusions rather than statements of

fact") (internal quotations omitted).

          Defendant's first claim of ineffective assistance of counsel therefore is without merit.

In addition, because Defendant cannot demonstrate that counsel was ineffective in failing to



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file an appeal, he also fails to demonstrate cause excusing the procedural default of his Sixth

Amendment claim.1

       B.     Failure to File Pretrial Motions

       In his second claim of attorney error, Defendant contends that counsel was ineffective

in failing to make pretrial motions. Defendant's claim is limited to a bare allegation with no

supporting argument or facts. In fact, Defendant does not identify a single motion he

believes competent counsel should have filed.



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        The Court notes that, even were Defendant's Sixth Amendment claim not
procedurally defaulted, it would be without merit. Defendant seeks retroactive application
of the Supreme Court's decision in United States v. Booker, 125 S. Ct. 738 (2005), and
Blakely, 124 S. Ct. 2531. In Booker, the Supreme Court extended the reasoning of Blakely
and found the mandatory federal Sentencing Guidelines to be unconstitutional. However,
in Humphress v. United States, 398 F.3d 855 (6th Cir. 2005), the Sixth Circuit concluded that
Booker did not apply retroactively on collateral review to cases already final on direct review.
Id. at 863. The Sixth Circuit previously had held that Blakely did not apply to the federal
Sentencing Guidelines. Id. at 861 (citing United States v. Koch, 383 F.3d 466 (6th Cir.
2004)). Moreover, Blakely itself was presaged by Apprendi, 530 U.S. 466 (2000), where the
Supreme Court held that "[o]ther than the fact of a prior conviction, any fact that increases
the penalty for a crime beyond the statutory maximum must be submitted to a jury, and
proved beyond a reasonable doubt." Id. at 489 (emphasis added). After Apprendi, the Sixth
Circuit consistently held that the case applied only where the judicial sentencing finding
increases the penalty beyond the prescribed statutory maximum and did not apply to the
Guidelines. See, e.g., United States v. Lawrence, 308 F.3d 623, 634 (6th Cir. 2002); United
States v. Garcia, 252 F.3d 838, 843 (6th Cir. 2001); see also United States v. DeJohn, 368
F.3d 533, 546 (6th Cir. 2004); United States v. Helton, 349 F.3d 295, 299 (6th Cir. 2003);
United States v. Solorio, 337 F.3d 580, 597 (6th Cir. 2003).

       The Court sentenced Defendant on March 31, 2004, and his ten-day period for filing
an appeal expired on April 14, 2004. His case therefore was final on April 14, 2004. The
Supreme Court did not decide Blakely until June 24, 2004. It did not enter its opinion in
Booker until January 12, 2005. As a result, Defendant would not have been entitled to the
benefit of either decision.

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       Defendant has utterly failed to meet his burden to demonstrate that counsel's

performance fell below an objective standard of reasonableness. See Strickland, 466 U.S.

at 688. Defendant further has failed how the absence of any such motion could have

prejudiced his case or influenced his decision to plead guilty. Id. at 691.

       Further, as the government points out, the record is devoid of any basis upon which

reasonable counsel would have filed a pretrial motion. Although multiple searches were

executed in the case, those searches were conducted at the homes of Defendant's co-

conspirators. Defendant therefore had no standing to challenge the searches, and a pretrial

motion would have been frivolous. See United States v. Padilla, 508 U.S. 77 (1993). An

attorney’s failure to make a frivolous or meritless motion does not constitute ineffective

assistance of counsel. See Chegwidden v. Kapture, 92 Fed. Appx. 309, 311 (6th Cir. 2004);

A.M. v. Butler, 360 F.3d 787, 795 (7th Cir. 2004); James v. Borg, 24 F.3d 20, 27 (9th Cir.

1994); Koch v. Puckett, 907 F.2d 524, 527 (5th Cir.1990); United States v. Wright, 573 F.2d

681, 684 (1st Cir. 1978). The Court is unable even to speculate about other possible

challenges. Defendant therefore has failed to meet his burden to overcome the strong

presumption that counsel's performance was within the broad range of reasonable

professional assistance. Strickland, 466 U.S. at 689.




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C.     Advice to Plead Guilty

       In his final claim of attorney error, Defendant asserts that counsel was ineffective in

advising him to plead guilty. Again, Defendant has done no more than make the barest

allegation that the advice to plead guilty was an error of constitutional dimension.

       It is apparent from the record that Defendant benefitted greatly by pleading guilty.

First, by the time of Defendant's arrest, three of his co-defendants already had pleaded guilty

and had agreed to cooperate by testifying against Defendant. Their proposed testimony was

corroborative of substantial other evidence of Defendant's guilt. As a result, the evidence the

government was prepared to bring to trial was extremely strong.

       Second, by pleading guilty, Defendant obtained a three-level reduction to his offense

category for timely acceptance of responsibility. Third, based on his proffered evidence to

the government, defense counsel was able to negotiate a two-level downward departure for

cooperation under U.S.S.G. § 5K1.1. Defendant therefore was able to reduce his guideline

level by five levels, resulting in the reduction of Defendant's sentence from a minimum of

30 years to an actual 18½ years. Counsel also diligently pursued a government motion to

reduce sentence under F ED. R. C RIM . P. 35. Given these factors, as well as Defendant's

substantial criminal history and his classification as a career offender, counsel's advice to

enter into a plea agreement was extremely reasonable.




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                                             IV.

        The files and records in this case conclusively show that the Defendant is entitled to

no relief under § 2255. Accordingly no evidentiary hearing is required to resolve the merits

of the pending motion. For the reasons stated herein, the motion to vacate, set aside or

correct sentence pursuant to 28 U.S.C. § 2255 must be denied. An order consistent with this

opinion will be entered.




Date:       November 2, 2005               /s/ Robert Holmes Bell
                                           ROBERT HOLM ES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE




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